C.lA 20 APPO[NTMENT OF AND AU]'HORITY TO PAY COURT APPOINTED COUNSEL _ ,

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TNW Turner, Stephen
3. MAG. DKTJDEF. NuMnF.n 4 ms'r. DKTJDEF. NuMBER 5. APFEALS DKTJDEF. NUMBER 6. oTHER ox'r. NUMBER
2:04-020067-001
7. IN cAsErMA'rrEn ol-' icm mm s. rAYMENT cA‘rEGoRY 9. TYPE PERSON REPRESENTED m WH§::H¢PGN ms
U.S. v. Tumer Felony Adult Defendant Appeal of Other Matters

 

ll. OFFENSE(S) CH ARGED (Cite U.S. Code, 'I'itle & Secil'oll) li` more than one nfl`ense. list (np to five] major offenses cbar¢ed, aoeordin¢lo severity ol ol'l'enae.

l) 21 841A=CD. F -- CONTROLLED SUBSTANCE - SELL, DISTRIBU TE, OR DISPENSE

 

 

 

12. ATI`()RNEY'S NAME girst Name, i\"[.l.r Laat Name, lacluding any sufhx} 13. COURT ORDER
AND MAIL]NG ADDRE S IE 0 Appoindng Connael i'_'l C Co-Coonaei
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Harvl'el Law Omce m P Sllha For Plllel At|orn¢y n Y Stlldby Collll.le|
50 _North Front Street P""' "“‘"""Y" N"'"=
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MCmphlS TN 3 8103 ij lenore the above-named penna represented du tel cilied under nm or du z
otherwlle lad.tBed this court that lie o .lte (l) is financially enable to eniplof_`etanuel and '-" _:`
T,;,ph.m, Nnmhm (901) 543 -9799 (2) does not wis nd h- use tile interests ol`]ult|ce ao raqi_ire,the _ rf

  
  
 

 

appointed to reprelent this pera)qnin this me,
14. NAME AND MAIL[NG ADDRESS OF LAW FIRJ\’[ (only provide perins¢rucdon!) ' = " »

 

  
   

      

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Dale ofDrder Nllc Prn Tuc Da

Repaymen¢ or partial repayment ordered from lite person represented for illier
time of appointment EE YES I] NO

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lS. a. Arraignment andfor Plea
b. Bail and Dei)ention Hearings

 

 

c. Motion Hearings
d. Trlal

 

 

 

e. Senteneing l-Iearings

 

f. Revocation Hearings

 

g. Appeals Court
h. other (Specify on additional sheets)

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(R.lte per hour " 5 ) TOTALS:
n. Interview.s and Coni`erences

 

 

.-»¢o va

b. Obtainlng and reviewing records

 

c. Legai research and brief writing

 

d. Travel time

 

e. lnvestignt'ive and Other work (sp¢¢u'y on mcmann mem

 

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Tt’avel Expenses (lodging. parking mea]a, mileage, etc.)

 
 
 

 

 

 

   

Other Expenses (other than expen, transcrip¢s, etc.)

 

 
   

 

     

 

 

 

 

 

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19. CERTIF!CA'“()N OF ATTOR.NEY!PAYEE FOR THE PERlOD 0 F SERVICE 20. APPOINTMENT T'ERMINA']`|ON DATE 11. CASE DISFOSmON
IF OTHER THAN CASE COMPLET|ON
FROM m
ll C LAIM STATUS m Fillal Plymen¢ IJ interim Paymeat N lumber _ m Sn emen\al hyman
Illve you previously applied to the court fn- eontpenaallon and.ror remimharaemenl for this ¢Me? U YES NO lfyer, were you paid? l:l YES L_.i NO

Dtber than from the court, have yon. or to your knowledge nu anyone el.le, received payment (compenmlon or anything or valul) from any other connell connection with I\ia
representation ij YES l;l N[} ll'yel, give delalia on additional rheela.

l swear or affirm the truth or correctness of tile above atntementa.

S|gnatore of Attarney: Dnle:

 

    

 

     

 

 

 

 

 

 

 

 

 

23. lN COURT COMP. 14. OUT DF COURT COMP. 15. TRAVEL EXFENSES 26. OTHER EXPENSES 1'1'. TGTAI. AMT. APFR 1 CERT
23. SIGNATUR.E OF THE PRESlDlNG JUDICIAL OFFICER DATE 181. JUBGF. f MAG. .IUDGE CODE
19. lN COURT COMP. 3|). UUT OF COURT COMP. 31. TRAVEL EXPENSES 31 OTHER EXPENSES 33. TOTAL AMT. APPROVED
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Ol’lieer or By Order nftba Conrt ' : " rt »"’ 2;`

 

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Leonard E. Lucas

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Mcmphis7 TN 38103

Honorablc J. Breen
US DISTRICT COURT

